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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION


       NETWORK-1 TECHNOLOGIES, INC.

                          Plaintiff,                  Case No. 6:11-cv-492-RWS-KNM

       vs.                                            LEAD CASE1

       ALCATEL-LUCENT USA INC., et al.,               JURY TRIAL DEMANDED

                          Defendants.

       NETWORK-1 TECHNOLOGIES, INC.

                          Plaintiff,                  Case No. 6:13-cv-72-RWS-KNM

       vs.                                            MEMBER CASE

       HEWLETT-PACKARD COMPANY AND                    JURY TRIAL DEMANDED
       HEWLETT PACKARD ENTERPRISE
       COMPANY,

                          Defendants.


               SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
                    Plaintiff Network-1Technologies, Inc. (“Network-1”) sues Defendants Hewlett-
   Packard Company (now known as HP Inc.) and Hewlett Packard Enterprise Company
   (collectively, “Defendants”) and, on information and belief, alleges as follows:


                    Introduction
                     1.     Plaintiff Network-1 owns the invention described and claimed in United
       States Patent No. 6,218,930 entitled “Apparatus And Method For Remotely Powering Access



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          This Second Amended Complaint is only for Member Case 6:13-cv-72-RWS-KNM and
   does not affect the controlling pleadings in other Member Cases.
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    Equipment Over A 10/100 Switched Ethernet Network” (the “‘930 Patent”). Defendants,
    without Plaintiff’s permission,
                  (a)     have used and continue to use Plaintiff’s patented technology in
          connection with products that they make, use, sell, and offer to sell which distribute or
          use power transferred through Ethernet cables (“Power over Ethernet” or “PoE”),
          including Power Sourcing Equipment (“PSEs”) and Powered Devices (“PDs”) that are
          compliant with the IEEE 802.3af and 802.3at Standards, and
                  (b)     have contributed to or induced, and continue to contribute to or induce,
          others, including Defendants’ customers who purchase PoE products from Defendants, to
          infringe the ‘930 Patent.
   Plaintiff Network-1 seeks damages for patent infringements and an injunction preventing
   Defendants from making, using, selling, or offering to sell, and from contributing to and
   inducing others to make, use, sell, or offer to sell, Plaintiff’s patented technology without
   permission.


                   Jurisdiction and Venue
                   2.     This is an action for patent infringement arising under the patent laws of
    the United States, 35 U.S.C. §§ 271 and 281, et seq. The Court has original jurisdiction over
    this patent infringement action under 28 U.S.C. §§ 1331 and 1338(a).
                   3.     Venue is proper in this Court because the Defendants are responsible for
    acts of infringement occurring in the Eastern District of Texas as alleged in this Complaint, and
    have delivered or caused to be delivered its infringing products in the Eastern District of Texas.


                  Plaintiff Network-1
                   4.     Plaintiff Network-1 Technologies, Inc. is a corporation existing under and
    by virtue of the laws of the State of Delaware, with its principal place of business in New York,
    New York.


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                   The Patent
                    5.     The United States Patent and Trademark Office issued the ‘930 Patent on
    April 17, 2001. A copy of the ‘930 Patent is attached as Exhibit A. Through assignment,
    Plaintiff is the owner of all right, title, and interest, including rights for damages for past
    infringements, in the ‘930 Patent.


                   Defendants
                   Hewlett-Packard
                   20.     Upon information and belief, Hewlett-Packard Company (now known as HP

   Inc.) is a Delaware corporation, with its principal place of business in Palo Alto, California.

                   21.     Upon information and belief, Hewlett Packard Enterprise Company is a

   Delaware corporation, with its principal place of business in Palo Alto, California.

                   22.     Upon information and belief, on November 1, 2015, HP Inc. (formerly known

   as Hewlett-Packard Company), spun off Hewlett Packard Enterprise Company, pursuant to a

   separation and distribution agreement. Upon information and belief, to affect the spin-off, HP Inc.

   distributed all of the shares of Hewlett Packard Enterprise common stock owned by HP Inc. to
   its shareholders on November 1, 2015. Upon information and belief, holders of HP Inc.
   common stock received one share of Hewlett Packard Enterprise stock for every share of HP Inc.
   stock held as of the record date. Upon information and belief, as a result of the spin-off, HPE
   now operates as an independent, publicly traded company.
                   23.     Upon information and belief, Defendants’ Power over Ethernet products
   include PSEs that distribute power through Ethernet cables. Attached as Appendix A, and
   incorporated herein, is a chart identifying where elements of asserted claims of the ‘930 Patent are

   found Defendants’ PoE products.


                           First Claim for Patent Infringement (‘930 Patent)
                                          Against Defendants
                   24.     Plaintiff incorporates by reference each of the allegations in paragraphs 1 -
   23 above.
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                   25.     On or about April 17, 2001, the ‘930 Patent, disclosing and claiming an
   “Apparatus And Method For Remotely Powering Access Equipment Over A 10/100 Switched
   Ethernet Network,” was duly and legally issued by the United States Patent and Trademark
   Office. The ‘930 Patent is valid.
                   26.     Plaintiff Network-1 is the owner of the ‘930 Patent with full rights to
   pursue recovery of royalties or damages for infringement of such patent, including full rights to
   recover past and future damages.
                   27.     Defendants have infringed, contributed to the infringement, and induced
   others to infringe the ‘930 Patent (e.g., claim 6 of the ‘930 Patent) and, unless enjoined, will
   continue to infringe the ‘930 Patent by manufacturing, using, selling, offering for sale, or by
   using the apparatus and method(s) claimed in the Patent or by contributing to or inducing others
   to make, use, sell, or offer to sell, the claimed invention or use the claimed apparatus and
   method(s) without a license or permission from Plaintiff.
                   28.     Each Defendant makes, uses, sells, or offers to sell, Power over Ethernet
   products, including certain products that are compliant with the 802.3af Standard.
                   29.     Defendants were aware of the ‘930 Patent at least as early as August, 2008
   when Network-1 sent a letter to HP identifying the ‘930 Patent: “Please find enclosed for your
   review a copy of a press release, issued by Network-1 on June 28, 2008, announcing the introduction

   of its Special Licensing Program for U.S. Patent No. 6,218,930 entitled, ‘Apparatus and Method for

   Remotely Powering Access Equipment Over a 10/100 Switched Ethernet Network’ (the “‘930

   Patent’).” The ‘930 Patent was also identified in the original Complaint in this action, filed on

   September 15, 2011. Defendants knowingly induced others, including their customers who

   purchased Defendants’ Power over Ethernet products, to practice the methods claimed in the
   ‘930 Patent, and possessed a specific intent to encourage such infringement of the ‘930 Patent.
   For example, Defendants’ Power over Ethernet products, when connected and operated as
   intended, instructed, and suggested by Defendants’ associated manuals, literature, advertising, or
   other placards and data, infringe the ‘930 Patent. In addition, Defendants sell Power over Ethernet
   parts or components used to infringe the ‘930 Patent that (a) constitute material parts or components

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   of the inventions claimed in the ‘930 Patent, (b) are, as Defendants are aware, especially made or

   adapted for use in a manner that infringes the ‘930 Patent, and (c) do not have substantial use that

   does not infringe the ‘930 Patent.

                   30.     Plaintiff has been damaged by Defendants’ infringement of the ‘930
   Patent and will suffer additional irreparable damage and impairment of the value of its patent
   rights unless Defendants are enjoined from continuing to infringe the ‘930 Patent.


                                               Jury Demand
                   31.     Plaintiff demands trial by jury of all issues.


                                             Prayer for Relief
                   WHEREFORE, Plaintiff prays for judgment as follows:
           A.      A decree preliminarily and permanently enjoining Defendants, their officers,
                   directors, employees, agents, and all persons in active concert with them, from
                   infringing, and contributing to or inducing others to infringe, the ‘930 Patent;
           B.      Compensatory damages awarding Plaintiff damages caused by Defendants’
                   infringement of the ‘930 Patent;
           C.      For costs of suit and attorneys fees;
           D.      For pre-judgment interest; and
           E.      For such other relief as justice requires.




   Dated: July 7, 2016                                     Respectfully submitted,


                                                           By: /s/ Sean A. Luner by permission Andrea
                                                           L. Fair
                                                           Sean A. Luner
                                                           State Bar No. 165443
                                                           Gregory S. Dovel
                                                           State Bar No. 135387
                                                           Dovel & Luner, LLP
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                                                        201 Santa Monica Blvd., Suite 600
                                                        Santa Monica, CA 90401
                                                        Telephone: 310-656-7066
                                                        Facsimile: 310-657-7069
                                                        Email: sean@dovellaw.com
                                                        Email: greg@dovellaw.com

                                                        T. John Ward, Jr.
                                                        State Bar No. 00794818
                                                        Wesley Hill
                                                        State Bar No. 24032294
                                                        Claire Henry
                                                        State Bar No. 24053063
                                                        Andrea Fair
                                                        State Bar No. 24078488
                                                        WARD, SMITH & HILL, PLLC
                                                        PO Box 1231
                                                        Longview, Texas 75606
                                                        Telephone: (903) 757-6400
                                                        Facsimile: (903) 757-2323
                                                        Email: jw@wsfirm.com
                                                        Email: wh@wsfirm.com
                                                        Email: claire@wsfirm.com
                                                        Email: andrea@wsfirm.com

                                                        ATTORNEYS FOR PLAINTIFF,
                                                        NETWORK-1 TECHNOLOGIES, INC.




                                         Certificate of Service

           I hereby certify that the foregoing document was filed electronically in compliance with
   Local Rule CV-5(a). As such, this document was served on all counsel who are
   deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.
   Civ. P. 5(d) and Local Rule CV-5(d) and (e), all parties not deemed to have consented to
   electronic service were served with a true and correct copy of the foregoing by email, on this the
   7th day of July, 2016.

                                         /s/ Andrea Fair




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